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15                                 UNITED STATES DISTRICT COURT
16                                NORTHERN DISTRICT OF CALIFORNIA,
17                                     SAN FRANCISCO DIVISION
18    GOOGLE LLC,                                     Case No. 3:20-cv-06754-WHA
                                                      Related to Case No. 3:21-cv-07559-WHA
19           Plaintiff and Counter-defendant,
                                                      SONOS, INC.’S REPLY IN SUPPORT OF
20           v.                                       ITS MOTION FOR LEAVE TO AMEND
                                                      INFRINGEMENT CONTENTIONS
21    SONOS, INC.,                                    PURSUANT TO PATENT L.R. 3-6
22           Defendant and Counter-claimant.          Date: Jan. 12, 2023
                                                      Time: 8:00 a.m.
23
                                                      Place: Courtroom 12, 19th Floor
24                                                    Judge: Hon. William Alsup

25                                                    Complaint Filed: September 28, 2020

26
                                          FILED UNDER SEAL
27

28                                                          SONOS’S REPLY ISO MOTION FOR LEAVE
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 1    I.     INTRODUCTION

 2           Sonos seeks a routine amendment of its infringement contentions in order to incorporate

 3    discovery that Google withheld until Sonos moved to compel. On November 11, 2022, Google

 4    finally provided this discovery. Less than two weeks later—with fact and expert discovery still

 5    open—Sonos moved to incorporate that discovery in its infringement contentions. There is no

 6    prejudice in allowing Sonos to supplement its infringement contentions in light of the testimony

 7    Sonos obtained at the November 11 deposition of Google’s 30(b)(6) designee.

 8           Google now attempts to use this routine amendment to obtain further delay, threatening

 9    that granting Sonos’s motion would require “substantial revisions to the case schedule.” Dkt.
10    424, Opposition to Motion for Leave at 13 (“Opp.”). Sonos disagrees that any delay is

11    appropriate or necessary. Any “prejudice” to Google is self-inflicted through its delay in

12    providing a fully prepared 30(b)(6) witness. Sonos is ready to try this case under the current

13    schedule, and nothing in the proposed amendment should prevent Google from doing so either.

14    The Court should reject Google’s inflated arguments of prejudice and its transparent attempt to

15    postpone Sonos’s day in court, and grant Sonos’s motion for leave to amend.

16    II.    SONOS HAS GOOD CAUSE

17           As Sonos explained in its motion, Sonos first put Google on notice of its “stream transfer”

18    infringement theory for the ’033 patent two years ago, in December 2020. Dkt. 407, Motion for

19    Leave at 1 (“Mot.”). Sonos served an interrogatory on Google regarding this functionality in

20    August 2021. Id. Google still has not sufficiently responded, which is the subject of a pending

21    motion to compel. Id. at 1-2. Sonos also served a 30(b)(6) deposition notice on Google on

22    January 5, 2022, seeking testimony regarding the “stream transfer” functionality. Id. at 2.

23    Google’s first two designees on this topic were not competent to testify, forcing Sonos to move to

24    compel. Id. Only after Sonos moved to compel did Google finally produce a designee competent

25    to testify regarding this functionality. On November 11, 2022, Sonos took the deposition of

26    Google witness Tavis Maclellan. Once in possession of the necessary information, less than two

27    weeks later Sonos sought leave to amend its infringement contentions to supplement in light of

28    Mr. Maclellan’s testimony.
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 1           Sonos has proceeded with diligence. As Sonos explained in its motion, prior to obtaining

 2    Mr. Maclellan’s testimony, Sonos had no way to confirm certain details of the “stream transfer”

 3    functionality. For example, Sonos could not confirm the specific source code cites that Sonos

 4    now seeks leave to include in the proposed Amended Infringement Contentions. Moreover,

 5    Google’s document production of “stream transfer” technical information was slim to none, and

 6    Google’s interrogatory response—the subject of the pending motion to compel—merely punts to

 7    the source code. See, e.g., Dkt. 406-3, Moss Decl. Ex. 4 at 13 (“Google refers Sonos to the

 8    source code that Google has made available, which is the best evidence of how the devices

 9    operate with respect to the operation of the accused functionalities.”); id. at 12 (“Google … refers
10    Sonos to the source code that Google has made available.”). For this reason, Sonos explained,

11    Sonos’s motion for leave fits squarely within one of the paradigmatic examples of good cause

12    provided by the Patent Local Rules: “Recent discovery of nonpublic information about the

13    Accused Instrumentality which was not discovered, despite diligent efforts, before the service of

14    the Infringement Contentions.” Pat. L. R. 3-6(c). As the Patent Local Rules explain, this is

15    precisely the type of circumstance that “may, absent undue prejudice to the non-moving party,

16    support a finding of good cause.” Id.

17           Sonos further detailed how it had consistently and diligently sought discovery on this

18    issue beginning in August 2021, and continuing throughout 2022, and that the only reason it

19    could not supplement earlier was Google’s refusal or inability to provide a competent 30(b)(6)
20    designee until mid-November 2022—mere weeks before the close of fact discovery. Mot. at 3-4.

21           In opposition, Google offers four arguments as to how Sonos was not diligent. None hold

22    any water.

23           First, Google contends that because it had provided source code to Sonos, it was Sonos’s

24    obligation to interpret Google’s source code and technical documents without the benefit of

25    Google’s 30(b)(6) designee, and to amend its infringement contentions on that basis, even though

26    Google had yet to provide a competent witness who could answer questions on behalf of Google

27    on this topic. Opp. at 6-7. In other words, Google seems to say Sonos was entitled to just one

28    type of discovery (source code) on the stream transfer functionality. This argument ignores that
                                                                SONOS’S REPLY ISO MOTION FOR LEAVE
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 1    there are multiple types of discovery that complement each other. Sonos was not required to

 2    proceed on just source code. Indeed, in this case Google itself has claimed that its own source

 3    code is too voluminous for Google to be required to fully respond to a Sonos interrogatory. See

 4    Reply Declaration of Geoffrey Moss in Support of Sonos, Inc.’s Motion for Leave to Amend

 5    Infringement Contentions Pursuant to Patent L.R. 3-6 (“Moss Reply Decl.”), Ex. 11 (Google

 6    LLC’s Third Supplemental Objections and Responses to Plaintiff Sonos Inc.’s First Set of Fact

 7    Discovery Interrogatories (No. 15)) at 13 (“Google further objects to this interrogatory as vague,

 8    ambiguous, over broad and unduly burdensome …. The accused YouTube applications and

 9    systems have numerous functionalities and features, involve many different playback scenarios,
10    and are comprised of millions of lines of source code.”)

11           Other courts have recognized that a party needs full discovery before it is required to

12    update its contentions. For example, in Delphix Corp. v. Actifio, Inc., the Court found that Actifio

13    was diligent in seeking to amend its contentions to include source code where—despite having

14    access to source code for months— Actifio had no way to “understand[] the produced source

15    code without … technical documents that provided context.” No. 13-CV-04613 BLF (HRL),

16    2015 WL 5693722, at *5 (N.D. Cal. Sept. 29, 2015). Here, as in Delphix, Mr. Maclellan’s

17    testimony finally provided Sonos with necessary information “that describe[d] the confidential

18    details of how [Google’s stream transfer functionality] works.” Id. See Dkt. 406-2, Moss Decl.

19    Ex. 1 at 84-85 (providing proposed additional exemplary source code directly illustrating cited
20    Maclellan testimony); id. at 65 (providing plain English summarization of certain relevant

21    information from Maclellan testimony, compare Moss Reply Decl., Ex. 12 (Maclellan Dep. Tr.),

22    165:24-167:20 (summarizing testimony by explaining Hub display (i) internally processes “set

23    playback devices call,” (ii) internally “do[es] a store session” process, (iii) “send[s] a Cast V2

24    launch” message “to the destination Cast receiver,” and (iv) sends a “resume session message”

25    “to the receiver app running on the destination Cast receiver”)); Dkt. 406-2, Moss Decl. Ex. 1 at

26    69-73 (providing proposed additional exemplary source code illustrating this same functionality

27    in context of closely related claim limitation; compare Moss Reply Decl., Ex. 12 (Maclellan Dep.

28    Tr.), 168:14-175:2 (discussing OnTransferComplete method that “will be called when the resume
                                                                  SONOS’S REPLY ISO MOTION FOR LEAVE
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 1    session message, which was sent, gets a response” and describing success versus failure

 2    scenarios)); Dkt. 406-2, Moss Decl. Ex. 1 at 95-96 (providing, in context of closely related claim

 3    limitation, a subset of the same source code already included in the proposed redline at 85).

 4           Google’s proffered caselaw is not to the contrary. Cywee involved a plaintiff attempting

 5    to amend to assert an earlier priority date, where all of the information that the plaintiff needed to

 6    amend belonged to the plaintiff itself. CyWee Grp. Ltd v. Apple Inc., No. 14-CV-01853-HSG

 7    (HRL), 2016 WL 7230865, at *2 (N.D. Cal. Dec. 14, 2016). The decision does not involve an

 8    accused infringer declining to produce a competent 30(b)(6) witness for ten months, or suggest

 9    that a patentee should be required to understand an accused infringer’s source code—and its
10    millions of lines—without the benefit of a representative of the infringer to explain granular

11    details of the allegedly infringing technology. See id. Similarly, in Acer, the patentee seeking

12    leave to amend “d[id] not” even “contend that the newly-accused devices or other information are

13    newly-discovered or were difficult to locate” and did not “identif[y]” any “information that was

14    not known or available to it” previously. Acer, Inc. v. Tech. Properties Ltd., No. 5:08-CV-00877

15    JF/HRL, 2010 WL 3618687, at *3 n.6, 4 (N.D. Cal. Sept. 10, 2010). Synopsys too is inapposite:

16    that case involved no claim that the patentee needed (or had sought) 30(b)(6) testimony in order

17    to understand the source code in question. See, e.g., Synopsys, Inc. v. Atoptech, Inc, No. 13-CV-

18    02965-MMC (DMR), 2016 WL 4945489, at *4 (N.D. Cal. Sept. 16, 2016) (noting patentee’s

19    failure to identify any specific reason why it could not have amended with source code earlier).
20           Second, Google argues that notwithstanding its own refusal or inability to produce a

21    competent 30(b)(6) witness on this topic for ten months, it was incumbent on Sonos to take Mr.

22    Maclellan’s deposition earlier as a fact witness. Opp. at 7. Google offers no legal support for this

23    surprising assertion. Google agreed to produce a 30(b)(6) witness on this topic, but simply did

24    not do so until Sonos moved to compel. There was no reason for Sonos to seek this discovery

25    through other means, such as a fact deposition, where Google had already agreed to designate a

26    witness on the topic. It also strains credulity to suggest that, after Google’s first two designated

27    witnesses were unable to answer basic questions regarding key aspects of its stream transfer

28    technology, Sonos should have sought that discovery from a witness that Google had not yet even
                                                                  SONOS’S REPLY ISO MOTION FOR LEAVE
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 1    designated.1 Moreover, fact witnesses provide a different type of testimony than do witnesses

 2    designated under Rule 30(b)(6). Had Sonos attempted to ask these questions of Mr. Maclellan in

 3    his capacity as a fact witness, he could have reasonably declined to answer questions based on a

 4    lack of personal knowledge, if he lacked such knowledge, and any testimony he provided would

 5    not necessarily bind Google.2

 6           In support of this dubious theory, Google cites KlausTech as “denying patentee leave to

 7    amend infringement contentions based on information it discovered during a 30(b)(6) deposition

 8    about how the accused source code worked.” Opp. at 7 (citing KlausTech, Inc. v. Google, Inc.,

 9    No. 10-CV-05899-JSW (DMR), 2017 WL 4808558, at *4-6 (N.D. Cal. Oct. 25, 2017)). But in
10    KlausTech, the patentee “chose not to take any of the noticed depositions until … the very end of

11    the discovery period.” 2017 WL 4808558, at *5 (emphasis added). Sonos did not “choose” for

12    Google to designate two different witnesses that were not competent to testify on a topic that

13    Google agreed to designate a witness on, and Sonos did not “choose” to have to move to compel

14    in order to obtain the deposition that Google finally provided in the last month of fact discovery.

15    Indeed, as Google admits, KlausTech actually stands for the proposition that “[c]ourts

16    consistently have refused to find diligence where a party delayed in taking key depositions.”

17    Opp. at 7 (quoting 2017 WL 4808558, at *4-6). But Google offers no support for the idea that

18    Sonos delayed a deposition that Google declined to provide for ten months, while Sonos pursued

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      1
        In fact, courts within this District have found that one party forcing another to depose multiple
20        30(b)(6) witnesses due to lack of adequate preparation is sanctionable. See, e.g., Slot Speaker
          Techs., Inc. v. Apple, Inc., No. 13-CV-01161-HSG(DMR), 2017 WL 386345, at *2-3 (N.D.
21        Cal. Jan. 27, 2017) (despite prejudice to moving party being partly mitigated by “a substitute
          30(b)(6) deponent,” awarding sanctions because moving party “had to depose two witnesses
22        for information it should have been able to obtain from just one.”); see also Avago Techs.,
          Inc. v. IPtronics Inc., No. 5:10-CV-02863-EJD, 2015 WL 2395941, at *1, 2 (N.D. Cal. May
23        19, 2015) (awarding sanctions where designee could not testify to 9 of 24 noticed topics and
          could address the remainder only in part).
24
      2
        Indeed, even as a 30(b)(6) designee, Mr. Maclellan repeatedly hedged his testimony based on
25        the fact that he didn’t write the specific code in question. See, e.g., Moss Reply Decl., Ex. 12
          (Maclellan Dep. Tr.), 180:18-25 (“So, again, preface that I didn’t write this code.”); id. at
26        37:17-19 (“[T]hat is code that I didn’t write, so I don’t know the most proper term to refer to
          it as.”); id. at 74:11-14 (“Again, I didn’t write this code so I actually wouldn’t be able to tell
27        what the is audio flag means or the field means in this type script file.”); id. at 114:23-25 (“I
          did not write this code -- the comment, so I cannot definitively say exactly the intent behind
28        it.”).
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 1    numerous deficiency letters and multiple meet-and-confers, and finally a filed motion to compel.

 2    If anything, Klaustech shows that Google has not been diligent in meeting its discovery

 3    obligations, and so, as discussed below, any prejudice to Google here is self-inflicted.

 4           Third, Google seeks to hold Sonos accountable for Google’s own refusal or inability to

 5    produce a competent 30(b)(6) witness, suggesting that it was incumbent on Sonos to move to

 6    compel earlier in fact discovery. See, e.g., Opp. at 8 (citing Google, Inc. v. Netlist, Inc., No. C

 7    08-4144 SBA, 2010 WL 1838693 (N.D. Cal. May 5, 2010), discussed below). This argument too

 8    is without merit. Sonos moved to compel on October 14, 2022, see Dkt. 377-2, more than six

 9    weeks prior to the close of fact discovery. Google cites no authority suggesting that parties must
10    move to compel earlier than that as a general matter. And here, Sonos sought repeatedly to

11    resolve these discovery issues with Google cooperatively, without involving the Court. Sonos

12    disagrees with Google that Sonos’s attempts to resolve these issues cooperatively shows a lack of

13    diligence, especially where Sonos did move to compel, and successfully obtained the deposition

14    prior to the close of fact discovery.

15           Google’s proffered authority does not support Google’s extreme position. Instead of

16    discussing factually apposite authority, Google relies on cases in which patentees simply dropped

17    the ball, and where none of the delay was attributable to the alleged infringer. For example,

18    Netlist involved a party that “failed to” “promptly s[eek] relief from the Court” regarding

19    Google’s alleged “fail[ure] to comply with [its] discovery obligations.” 2010 WL 1838693, at *3.
20    That party does not seem to have moved to compel at all, much less more than six weeks prior to

21    the close of fact discovery. In Ameranth, as in Klaustech—discussed above—the Court faulted

22    the patentee for delaying in taking a 30(b)(6) deposition. See Ameranth, Inc. v. Genesis Gaming

23    Sols., Inc., No. SACV 11-0189-AG (RNBx), 2015 WL 10793431, at *2 (C.D. Cal. Jan. 2, 2015)

24    (noting that 30(b)(6) designee was not deposed until seven months after the initial review of

25    source code). But Ameranth did not involve an accused infringer declining to produce a

26    competent 30(b)(6) witness for ten months, or indeed any apparent claim by the patentee that the

27    alleged infringer was responsible for the delay in obtaining that discovery. In this case, Sonos

28    noticed this 30(b)(6) deposition almost a year ago on January 5, 2022, and took its first attempted
                                                                  SONOS’S REPLY ISO MOTION FOR LEAVE
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 1     deposition on this designated topic in April, 2022. Mot. at 2. Sonos promptly informed Google

 2     of the first witness’s incompetence to testify regarding the “stream transfer” functionality, and

 3     took the second attempted deposition on this designated topic in June, 2022. Id. After Google

 4     still refused to produce a competent witness, Sonos moved to compel. Perhaps realizing its

 5     tenuous position, Google then agreed to designate Mr. Maclellan on this topic, thus mooting a

 6     portion of the motion to compel on which Google had no colorable defense.

 7            Tech Properties is inapposite for the same reason. In that case, the Court faulted the party

 8     seeking amendment for “wait[ing] so long to” “serve a subpoena on an admittedly key [] party.”

 9     Tech. Properties Ltd. LLC v. Canon Inc., No. 14-cv-03643 CW (DMR), 2016 WL 1570163, at *3
10     (N.D. Cal. Apr. 19, 2016). In this case, Sonos served its 30(b)(6) notice on Google on January 5,

11     2022. Google’s repeated failure to identify and put up a competent designee over the course of

12     10 hard-fought months is a problem that lays at Google’s feet, not Sonos’s.

13            Fourth, Google argues that Sonos’s routine amendment actually contains an entirely new

14     theory of infringement. Opp. at 1, 3, 8-10, 12. Google argues that Sonos is “add[ing] new

15     theories directed at how the ‘stream transfer’ feature performs the steps of ‘detecting an

16     indication’ and the ‘after detecting the indication, transitioning. . . . to ii) a second mode in which

17     . . . the computing device is no longer configured for playback.’” Opp. at. 1 (emphasis omitted).

18     Google identifies the offending amendment in one pincite on the second-to-last page of its

19     opposition, identifying “Dkt. 406-2 at 84-85.” Opp. at 12. According to Google, this citation
20     shows that Sonos is “significantly broaden[ing] the scope of the claims” and for the first time,

21     contending that the “detecting an indication” of successful transfer limitation is met “by a

22     successful cast command where the receiver begins playback (i.e., detecting no error) or the

23     alleged ‘computing device’ seizing playback responsibility if there is an error.” Google says this

24     “seemingly reads the limitation out of the claim and therefore significantly broadens the scope of

25     the claims.” Opp. at 12. Google is wrong that this is a new theory of infringement and is

26     blatantly mischaracterizing Sonos’s amendment.

27            Sonos’s original contentions for the “detecting an indication” limitation refer to a

28     “response to [the] ‘ResumeSession’ message,” see Dkt. 406-2, Moss Ex. 1 at 84, which Mr.
                                                                   SONOS’S REPLY ISO MOTION FOR LEAVE
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 1     Maclellan later confirmed is the key responsive message by which a Hub display knows that a

 2     stream transfer was or was not successful. As Sonos explained, a Hub display sends a

 3     “ResumeSession” message to a destination media player (e.g., smart speaker) to transfer the Hub

 4     display’s playback state to the destination media player. Id. at 65. A destination media player

 5     does not begin playback absent a ResumeSession message. Thus, after reviewing the cited

 6     Google technical documentation,3 Sonos accused this ResumeSession “response” as the recited

 7     “indication” in the claim.

 8            Sonos was not able to confirm the full functionality of the ResumeSession “response”

 9     until Google’s 30(b)(6) designee confirmed for the first time that Sonos’s “response message”
10     theory was correct, by explaining that, the Hub display (i) “sends the resume session [message]

11     and … it is waiting on … the destination [media player] to respond with something for the resume

12     session command” (Moss Reply Decl., Ex. 12 (Maclellan Dep. Tr.), 168:14-170:5), (ii) processes

13     this “response” in the OnTransferComplete method (id., 168:14-174:1), (iii) within that method,

14     evaluates the payload of the “response” to determine whether it indicates a success or failure (id.,

15     170:24-174:1), and (iv) takes back responsibility for playback in the failure scenario (id., 174:4-

16     175:2). See also, e.g., id., 180:9-183:25 (testifying about destination player transmitting response

17     to ResumeSession message), id., 195:19-196:15 (describing particular use case of Hub receiving

18     success or failure indication). Because Sonos’s citations merely confirm that Sonos’s theory was

19     correct all along, Sonos’s proposed amendment does not present any new theory.
20            Elsewhere in its opposition, Google complains repeatedly that the proposed amendment

21     doesn’t consist exclusively of citations to Mr. Maclellan’s testimony.4 See, e.g., Opp. at 6

22     (“Sonos’s amendments only include a single citation to Mr. Maclellan’s deposition testimony for

23     a single claim limitation”). Of course, the very first paragraph Google complains about consists

24

25
       3
         As noted above, Google’s document production of “stream transfer” technical information was
26        slim to none.
       4
27       As explained above, this misses the point—all of the code that Sonos proposes adding is closely
          related to and a direct result of Mr. Maclellan’s testimony explaining the stream transfer
28        functionality.
                                                                  SONOS’S REPLY ISO MOTION FOR LEAVE
                                                       8         TO AMEND INFRINGEMENT CONTENTIONS
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 1     entirely of evidence obtained at Mr. Maclellan’s testimony.5 And that very citation is the

 2     principal amendment that Google complains adds a new theory. See Opp. at 12 (citing Dkt. 406-2

 3     at 84-85 as the sole specific pincite to an allegedly new theory by Sonos). So, Google is telling

 4     the Court that Sonos is wrong to cite to this new deposition testimony because Google thinks it

 5     contains a new theory, while asserting at the same time that Sonos is also wrong because Sonos

 6     does not cite to this same deposition testimony enough. Because Sonos did not include any new

 7     theories in its proposed amendments, and because the proposed amendments consist of Mr.

 8     Maclellan’s testimony and supporting source code citations, Google’s arguments should be

 9     rejected.
10              Google would suffer no undue prejudice from the proposed amendment. As Sonos

11     explained, Google would not be prejudiced if the Court grants this motion, for at least four

12     reasons. Google offers no convincing response. First, Sonos explained why Google has long

13     been aware of and on notice of both this infringement theory, and of Sonos’s ongoing efforts to

14     obtain this discovery from Google. Mot. at 4-5. Second, Sonos noted that the amendment

15     consists entirely of information obtained from or confirmed by Google in the November 11, 2022

16     Maclellan deposition—information of which Google was undoubtedly aware. Mot. at 5. Third,

17     Sonos explained that Google will not be prejudiced by the amendment because the new

18     information overwhelmingly confirms Sonos’s currently operative contentions regarding this

19     functionality, with the amendments consisting largely of addition of slightly greater detail,
20     including specific source code citations. Mot. at 5. Fourth, Sonos noted that trial in this matter is

21     set for May 2022, which will provide Google more than ample time to respond to Sonos’s

22     amended contentions if necessary. Mot. at 5.

23              Google’s only actual claim of prejudice is that Sonos “now demands an opportunity to

24     change the long-standing infringement theories that have been extant for months.” Opp. at 10.

25     Every argument that Google makes regarding prejudice depends upon its contention that Sonos is

26     seeking to smuggle in new theories of infringement. See Opp. at 10-13. Google is wrong, as

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       5
           And the redlined paragraphs that follow on the rest of pages 84-85 simply provide source code
28          citations illustrating Mr. Maclellan’s testimony.
                                                                  SONOS’S REPLY ISO MOTION FOR LEAVE
                                                       9         TO AMEND INFRINGEMENT CONTENTIONS
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 1     explained above. And because Google’s claims of prejudice rely entirely on its incorrect

 2     characterization of Sonos’s routine amendment, Google effectively concedes that if it is wrong

 3     about how to characterize Sonos’s amendment, then it has no claim of prejudice at all.

 4            Even if the Court agreed with Google that some limited portion of Sonos’s proposed

 5     amendments reflect a new theory, the Court should still reject Google’s inflated claims of

 6     prejudice. Google argues “if Sonos is permitted to add new theories of liability and

 7     infringement,” then Google will be entitled to “substantial revisions to the case schedule.” Mot.

 8     at 13. Google argues that it will need “an opportunity to amend its invalidity contentions and to

 9     serve additional appropriate discovery,” “an opportunity to supplement” “its expert report on
10     invalidity,” and “time to consider” all of the above. Id. Sonos has been asking for this discovery

11     in different forms since August 2021—when Sonos served written discovery—and January

12     2022—when Sonos served a 30(b)(6) deposition notice. Google now seeks to use its own failure

13     to cooperate in discovery as a reason to deny Sonos relief. After failing to produce a competent

14     30(b)(6) witness for ten months—from January 5, 2022 until November 11, 2022—despite

15     Sonos’s repeated requests and motion to compel, Google argues that Sonos is trying to amend its

16     infringement contentions too close to the end of fact discovery. But these facts show a lack of

17     diligence on Google’s part, not Sonos’s. See Delphix, 2015 WL 5693722, at *4 (“[E]ven

18     assuming the proposed amended infringement contentions put forth a new theory of infringement,

19     amendment may be allowed if the new theory is based on information that was not previously
20     disclosed.”). Any “prejudice” to Google here is self-inflicted. The Court should reject Google’s

21     effort to obtain more delay.

22     III.   CONCLUSION

23            For the foregoing reasons, Sonos respectfully requests that the Court grant Sonos leave to

24     amend its infringement contentions as to the ’033 Patent.

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                                                                SONOS’S REPLY ISO MOTION FOR LEAVE
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 1     Dated: December 19, 2022

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